
4 So.3d 1286 (2009)
N.L., Appellant,
v.
STATE of Florida, Appellee.
No. 2D07-5738.
District Court of Appeal of Florida, Second District.
April 1, 2009.
James Marion Moorman, Public Defender, and Megan Olson, Assistant Public Defender, Bartow, for Appellant.
Bill McCollum, Attorney General, Tallahassee, and Anne Sheer Weiner, Assistant Attorney General, Tampa, for Appellee.
*1287 DAVIS, Judge.
N.L. challenges his adjudication of delinquency and disposition order entered for possession of cocaine and possession of drug paraphernalia. The disposition order was originally entered on November 28, 2007, but an amended order was entered on July 8, 2008, after the trial court granted N.L.'s motion to correct disposition order. We affirm N.L.'s adjudication without comment. However, because the July 8, 2008, amended order does not comport with the trial court's oral pronouncement, we reverse the disposition order and remand for the limited purpose of the entry of a corrected disposition order.
N.L. pleaded nolo contendere to one count of possession of cocaine and one count of possession of drug paraphernalia. The trial court adjudicated him delinquent and placed him on probation on count one for a term not to exceed his nineteenth birthday. As to count two, the trial court placed N.L. on probation for no more than one year.[1] However, the original written disposition order did not reflect the oral disposition imposed on count two and additionally referred to dispositions imposed in other cases. On May 20, 2008, N.L. filed a motion to correct the disposition order, pointing out these errors. On July 10, 2008, the trial court filed an amended disposition order, removing the dispositions for the other case numbers and including disposition for both counts one and two of the instant case. However, the amended disposition order reflected that N.L. was placed on probation until his nineteenth birthday on both counts.
The State has properly conceded that this written disposition does not comport with the trial court's orally pronounced disposition. Accordingly, we reverse the July 8, 2008, disposition order and remand for the entry of a written disposition order that accurately reflects the trial court's November 28, 2007, oral pronouncement. See S.D.F. v. State, 911 So.2d 887 (Fla. 3d DCA 2005). We note that Florida Rule of Juvenile Procedure 8.947 provides a form order designating all the information such an order should include.
Affirmed in part, reversed in part, and remanded.
SILBERMAN, J., and DAKAN, STEPHEN L., Associate Senior Judge, Concur.
NOTES
[1]  At the time of the disposition, N.L. was sixteen years old.

